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                              IN THE UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF ARKANSAS
                                       HARRISON DIVISION



CRIMINAL NO. 21-30014-001                        USA v. AUSTIN GLENN ANGEL

COURT PERSONNEL:                                 APPEARANCES:

JUDGE: MARK E. FORD                              GOVERNMENT: BRANDON CARTER

CLERK: JANE ANN SHORT                            DEFENDANT: JAMES PIERCE

REPORTER: RICK CONGDON

                                     CHANGE OF PLEA MINUTES


On this date the above-named defendant appeared with counsel via video conference to withdraw the plea
of not guilty entered and enter a plea of guilty to Count 2 of the indictment.

(X)     Court stated this proceeding is being conducted remotely pursuant to the authority provided by the
        CARES Act.
(X)     Defendant consents to being present remotely and to the Court conducting the hearing by use of
        video conference.
(X)     Defendant consents for a U.S. Magistrate Judge to take the guilty plea and waived the right to plead
        guilty before a U.S. District Judge.
(X)     Defendant sworn and examined about offense.
(X)     Inquiry made regarding defendant’s age, level of education, and ability to read/write English.
(X)     Inquiry made that defendant is not currently on any medication, is not under the influence of any
        substance, is not under doctor’s care for mental/emotional problem, and is able to comprehend the
        proceedings.
(X)     Inquiry made that defendant is satisfied with counsel.
(X)     Court expressed tentative approval of the plea agreement pending completing of presentence
        report.
(X)     Rights explained.
(X)     Defendant entered guilty plea to Count 2.
(X)     Court finds and recommends that plea is voluntary.
(X)     Court finds and recommends that there is factual basis for plea.
(X)     Court recommends that the plea be accepted and that defendant be found guilty as charged.
(X)     Court advises a Report and Recommendation will be issued, and the U.S. District Judge will enter
        an order.
(X)     Parties consent to waive 14 days to make objections to the Report and Recommendation.
(X)     Sentencing deferred pending adoption of Report and Recommendation and presentence
        investigation.
(X)     Defendant remanded to custody of the USMS.

DATE:    October 7, 2021
                                                         Proceeding began:     1:30 pm
                                                                    ended:     1:59 pm
